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                                                                      Page 1
                                     Tim Jones
                                    June 23, 2015


                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

            PLAINTIFFS CARA BARBER,     )       CIVIL NO. 14-00217 HG-KSC
            MELISSA JONES, MELISSA      )
            STREETER, KATIE ECKROTH,    )
            BOB BARBER, TIM JONES, AND  )
            RYAN ECKROTH, On Behalf of  )
            Themselves and All Others   )
            Similarly Situated,         )
                                        )
                          Plaintiffs,   )
                                        )
                 vs.                    )
                                        )
            OHANA MILITARY COMMUNITIES, )
            LLC, FOREST CITY            )
            RESIDENTIAL MANAGEMENT,     )
            INC.; AND DOE DEFENDANTS    )
            1-10,                       )
                                        )
                          Defendants.   )
                                        )


                              DEPOSITION OF TIM JONES



                      Taken on behalf of Defendants, Ohana Military

            Communities, LLC, Forest City Residential Management,

            Inc., at the law offices of Goodsill Anderson Quinn &

            Stifel, 999 Bishop Street, 15th Floor, Honolulu,

            Hawaii, commencing at 12:10 p.m., on Tuesday, June 23,

            2015, pursuant to Notice.




            BEFORE:      ADRIANNE HO, CSR 388
                         Registered Professional Reporter
                         Hawaii CSR #388; California CSR #11470



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                                                      Page 98                                                      Page 100
       1    BY MR. WHATTOFF:                                          1      A I don't have a date. We looked into it. The
       2     Q Mr. Jones, have you had an adequate opportunity        2    2011 time frame, we were mulling the idea of moving off
       3    to review the fact sheet?                                 3    base.
       4     A I did.                                                 4      Q Okay. Prior to the learning of the facts that
       5     Q Is there anything else that you contend should         5    gave rise to your lawsuit; correct?
       6    be added to the fact sheet in order to make this a        6      A Correct.
       7    sufficient disclosure?                                    7      Q And why did you decide in 2011 not to move off
       8     A I believe I've answered this in previous               8    base?
       9    questions about requesting of the results and the         9      A Financial constraints that are cost -- I'd have
       10   exposure levels. And I think also, you know, the risks    10   to pay for the move, you know, the breaking of the
       11   of the exposure levels, what those exposure levels        11   lease, and then, again, the commute and the possibility
       12   mean, the parameters of each exposure level, you know,    12   of uprooting my children from school. The obviously
       13   how it increases the risks of those.                      13   high market value area we desire to live in in Kailua.
       14         If it's more in depth -- like I said, I've          14   Multiple factors.
       15   already answered this. More acute localizing of the       15     Q Have you considered moving out of the home
       16   affected areas as well. You know, this seems kind of      16   since these issues arose?
       17   broad; is my home affected? Is there a way I can find     17     A Yes.
       18   out if this home was affected or that home or what.       18     Q Okay. And what decision have you come to?
       19         So other than that, I think that's basically        19     A Well, due to the fact that we don't have -- we
       20   what I'd like to see added.                               20   don't fully understand exactly what is -- what is going
       21    Q Is that based on your review of the document,          21   on around the house or how affected it is, we are or
       22   or is that based on conversations between you and your    22   have been, nor has the -- nor has the risks been fully
       23   attorney?                                                 23   explained of, you know, exposure levels.
       24    A No, definitely my review of the document. And,         24        We have decided that due to financial
       25   yeah, the confusion of being asked over and over what     25   circumstances and, you know, where my kids live --


                                                      Page 99                                                      Page 101
       1    seems similar questions for what I've already given        1   where my kids go to school now and, you know, my
       2    answers to.                                                2   commute now, it would be a substantial financial burden
       3     Q Okay. Mr. Jones, you've continued to live in            3   and, you know, bigger lifestyle constraint.
       4    your home since learning about these issues in 2013;       4     Q What's your current basic allowance for
       5    correct?                                                   5   housing?
       6     A Correct.                                                6     A I have to reference my LES, tell you the truth.
       7     Q Is it fair to say that you don't believe your           7   Probably around twenty-four to 2700 maybe.
       8    home is uninhabitable?                                     8     Q And have you ever done research to see whether
       9     A Inside the house, you mean?                             9   that would be sufficient to afford off-base housing?
       10    Q Sure. Just living at your home. Your home is           10     A I've priced houses, if that's what you're
       11   habitable. It's appropriate for people to live there?     11   asking.
       12    A Well, that's just it. I don't know. Because,           12     Q Are you saying priced houses to rent or priced
       13   again, what I believe to be nondisclosed has not been     13   houses to purchase?
       14   disclosed, so I can't answer.                             14     A Both.
       15    Q Well, if you believed it was uninhabitable or          15     Q Let's talk about renting, for the moment. When
       16   unsafe, would you move out of the home?                   16   you've priced houses for rent, have you made a
       17    A Unsafe, yes. Uninhabitable, yes.                       17   determination about whether that would be sufficient to
       18    Q And just to be clear, you could have moved out         18   rent an alternative home?
       19   at any time by giving 28 days' notice and paying a $250   19     A In any feasible area, no.
       20   fee; correct?                                             20     Q What do you mean by "feasible area"?
       21    A Yes.                                                   21     A Proximity, again, to work and school, and
       22    Q Have you ever considered moving off base?              22   commute. Yeah, it wouldn't -- and size of a house, you
       23    A Yes.                                                   23   know. I got a family of five and a dog. Relatively --
       24    Q When was the first time that you considered            24   it wouldn't suffice for that.
       25   moving off base?                                          25     Q Have you looked in areas other than the



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                                   June 23, 2015

                                                         Page 126                                                     Page 128
       1     A    I would imagine it would be more.                    1               WITNESS CERTIFICATE
       2                                                               2
             Q    Would you imagine it would be substantially
       3                                                               3        I, TIM JONES, do hereby certify that I have
            more?
                                                                       4   read the foregoing pages, inclusive, and corrections,
       4     A    Potentially.
                                                                       5   if any, were noted by me; and that same is now a true
       5     Q    And the research that you have done, have you        6   and correct transcript of my testimony.
       6    formed any opinion about how much more it would cost to    7       Dated ______________________________________
       7    rent such a home on the Windward side of Oahu?             8           ______________________________________
       8     A    My opinion is it would be more money, yeah. I                      TIM JONES
       9    don't have an exact figure.                                9
       10                                                             10
             Q    Okay. And can you give me a ballpark figure?
       11                                                             11
             A    Between 500 and a thousand, just for rent, not
                                                                      12
       12   continuing utilities.
                                                                      13
       13        MR. WHATTOFF: Okay. Thank you, Mr. Jones. I          14        Signed before me this _________
       14   don't have any further questions at this time.            15   day of __________________________, 20_______.
       15        For your wife, what we discussed yesterday was       16
       16   that after the transcript is complete, it would be        17
       17   provided to your counsel, and that you would have 30      18   ____________________________________________
       18   days to review the transcript if you choose. If you       19

       19                                                             20
            choose not to review the transcript, then after 30 days
                                                                      21   Barber v Ohana Military Communites, LLC, et al.
       20   we would have the right to review and rely upon the
       21                                                                  Civil No. 14-0217
            transcript as if you have reviewed it.                    22   Deposition of TIM JONES
       22        If you need an extension, you can always
                                                                           Taken on June 23, 2015
       23   request one. We'd be happy to work that out with your     23
       24   counsel. Is that arrangement agreeable to you?            24
       25        MR. SMITH: As we said yesterday, we do reserve       25



                                                         Page 127                                                     Page 129
        1   the right to read and review the transcript, and          1                 CERTIFICATE
                                                                      2
        2   happily do it within 30 days.                                        I, ADRIANNE HO, C.S.R., in and for the State of
        3         I don't think, though -- and I'm just being         3    Hawaii, do hereby certify:
                                                                      4          That on Tuesday, June 23, 2015, at 12:10 p.m.,
        4   difficult, I think. But I don't think there's a rule           appeared before me TIM JONES, the witness whose
        5   that says 30 days. I don't know that this was local       5    testimony is contained herein; that, prior to being
        6   rules. So, but yeah, we'll do it within 30 days. And           examined, the witness was by me duly sworn or affirmed,
                                                                      6    pursuant to Act 110 of the 2010 session of the Hawaii
        7   if we need extra time, I'll let you know.                      State Legislature; that the proceedings were taken down
                                                                      7    by me in computerized machine shorthand and were
        8         MR. WHATTOFF: Yes. Thank you.
                                                                           thereafter reduced to print under my supervision; that
        9         MR. SMITH: And, also, we would request a copy       8    the foregoing represents, to the best of my ability, a
       10   of the transcript in electronic format, if possible.           true and correct transcript of the proceedings had in
                                                                       9   the foregoing matter.
       11                                                             10         That pursuant to Rule 30(e) of the Hawaii Rules
       12           (Deposition concluded at 3:51 p.m.)                    of Civil Procedure, a request for an opportunity to
                                                                      11   review and make changes to this transcript:
       13                                                             12         XXX was made by the deponent or
       14                                                                             a party (and/or their attorney) prior
                                                                      13              to the completion of the proceedings.
       15                                                             14         I further certify that I am not counsel for any
       16                                                                  of the parties hereto, nor in any way interested in the
                                                                      15   outcome of the cause named in the caption.
       17                                                             16         This 127-page Deposition of TIM JONES, dated
       18                                                                  June 23, 2015, was subscribed and sworn to before me
                                                                      17   this 25th day of July, 2015, in the First Circuit of
       19
                                                                           the State of Hawaii, by Adrianne Ho.
       20                                                             18
                                                                      19
       21
                                                                      20             ______________________________________
       22                                                                              Adrianne Ho, CSR 388
                                                                      21               State of Hawaii
       23
                                                                      22
       24                                                             23
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      33 (Pages 126 to 129)
